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                         UNITED STATES DISTRICT COURT
 7                      CENTRAL DISTRICT OF CALIFORNIA
 8
       RICARDO RAMOS,                             Case No.: 8:20-cv-00169-JLS-DFM
 9
10                 Plaintiff,                     ORDER OF DISMISSAL WITH
11
                                                  PREJUDICE
            v.
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13
      CITIBANK, N.A.,
14
15                 Defendant.
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            Upon review of the Parties’ Stipulation of Dismissal with Prejudice, and
20
21    good cause appearing, IT IS ORDERED that the Stipulation is GRANTED.
22          The above-entitled matter is hereby dismissed with prejudice, with the
23
      parties to bear their own attorneys’ fees and costs,
24
25          IT IS SO ORDERED.
26
      Dated: February 05, 2021                _______________________________
27                                            HON. JOSEPHINE L. STATON
28                                            UNITED STATES DISTRICT JUDGE

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